Case 2:24-cv-00641-RWS-RSP             Document 17-1         Filed 02/27/25      Page 1 of 7 PageID #:
                                              145




                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

  MOBILE EQUITY CORP.,                              §
                                                    §
                     Plaintiff,                     §
                                                    §
            v.                                      §
                                                               Case No. 2:24-cv-641-RWS-RSP
                                                    §
  EXXON MOBIL CORPORATION,                          §
                                                    §
                     Defendant.                     §


                                    DOCKET CONTROL ORDER


            In accordance with the scheduling conference held in this case, it is hereby ORDERED

  that the following schedule of deadlines is in effect until further order of this Court:

      Initial date       Proposed Change

      June 15, 2026                          *Jury Selection – 9:00 a.m. in Marshall, Texas

      7 days before                          *Defendant to disclose final invalidity theories, final
      Jury Selection                         prior art references/combinations, and final equitable
                                             defenses.1

      10 days before                         *Plaintiff to disclose final election of Asserted Claims.2
      Jury Selection




  1
   The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before
  Jury Selection,” and shall not include a specific date.
  2
   Given the Court’s past experiences with litigants dropping claims and defenses during or on the
  eve of trial, the Court is of the opinion that these additional deadlines are necessary. The proposed
  DCO shall include this specific deadline. The deadline shall read, “10 days before Jury Selection,”
  and shall not include a specific date.



                                                    1
Case 2:24-cv-00641-RWS-RSP              Document 17-1      Filed 02/27/25      Page 2 of 7 PageID #:
                                               146



      May 18, 2026                          * If a juror questionnaire is to be used, an editable (in
                                            Microsoft Word format) questionnaire shall be jointly
                                            submitted to the Deputy Clerk in Charge by this date.3

      May 11, 2026                          *Pretrial Conference – 9:00 am in Marshall, Texas
                                            before Judge Roy Payne

      May 4, 2026                           *Notify Court of Agreements Reached During Meet
                                            and Confer

                                            The parties are ordered to meet and confer on any
                                            outstanding objections or motions in limine. The
                                            parties shall advise the Court of any agreements
                                            reached no later than 1:00 p.m. three (3) business days
                                            before the pretrial conference.

      May 4, 2026                           *File Joint Pretrial Order, Joint Proposed Jury
                                            Instructions, Joint Proposed Verdict Form, Responses
                                            to Motions in Limine, Updated Exhibit Lists, Updated
                                            Witness Lists, and Updated Deposition Designations

      April 27, 2026                        *File Notice of Request for Daily Transcript or Real
                                            Time Reporting.

                                            If a daily transcript or real time reporting of court
                                            proceedings is requested for trial, the party or parties
                                            making said request shall file a notice with the Court
                                            and e-mail the Court Reporter, Shawn McRoberts, at
                                            shawn_mcroberts@txed.uscourts.gov.

      April 20, 2026   April 21, 2026       File Motions in Limine

                                            The parties shall limit their motions in limine to issues
                                            that if improperly introduced at trial would be so
                                            prejudicial that the Court could not alleviate the
                                            prejudice by giving appropriate instructions to the jury.

      April 20, 2026   April 21, 2026       Serve Objections to Rebuttal Pretrial Disclosures

      April 13, 2026   April 14, 2026       Serve Objections to Pretrial Disclosures; and Serve
                                            Rebuttal Pretrial Disclosures



  3
   The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
  Advance of Voir Dire.



                                                  2
Case 2:24-cv-00641-RWS-RSP             Document 17-1        Filed 02/27/25      Page 3 of 7 PageID #:
                                              147



      March 30,       March 31, 2026        Serve Pretrial Disclosures (Witness List, Deposition
      2026                                  Designations, and Exhibit List) by the Party with the
                                            Burden of Proof.

      March 23,                             *Response to Dispositive Motions (including Daubert
      2026                                  Motions). Responses to dispositive motions that were
                                            filed prior to the dispositive motion deadline, including
                                            Daubert Motions, shall be due in accordance with
                                            Local Rule CV-7(e), not to exceed the deadline as set
                                            forth in this Docket Control Order.4 Motions for
                                            Summary Judgment shall comply with Local Rule CV-
                                            56.

      March 9, 2026                         *File Motions to Strike Expert Testimony (including
                                            Daubert Motions)

                                            No motion to strike expert testimony (including a
                                            Daubert motion) may be filed after this date without
                                            leave of the Court.

      March 9, 2026                         *File Dispositive Motions

                                            No dispositive motion may be filed after this date
                                            without leave of the Court.

                                            Motions shall comply with Local Rule CV-56 and
                                            Local Rule CV-7. Motions to extend page limits will
                                            only be granted in exceptional circumstances.
                                            Exceptional circumstances require more than
                                            agreement among the parties.

      March 2, 2026                         Deadline to Complete Expert Discovery

      February 17,                          Serve Disclosures for Rebuttal Expert Witnesses
      2026

      January 26,                           Deadline to Complete Fact Discovery and File Motions
      2026                                  to Compel Discovery



  4
    The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
  oppose a motion in the manner prescribed herein creates a presumption that the party does not
  controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
  If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
  Motions, the deadline for Response to Dispositive Motions controls.



                                                   3
Case 2:24-cv-00641-RWS-RSP          Document 17-1     Filed 02/27/25      Page 4 of 7 PageID #:
                                           148



  January 26,                           Serve Disclosures for Expert Witnesses by the Party
  2026                                  with the Burden of Proof

  January 2,      January 6, 2026       Comply with P.R. 3-7 (Opinion of Counsel Defenses)
  2026

  December 11,                          *Claim Construction Hearing – 9:00 a.m. in Marshall,
  2025                                  Texas before Judge Roy Payne

  November 28                           *Comply with P.R. 4-5(d) (Joint Claim Construction
  2025                                  Chart)

  November 20,                          *Comply with P.R. 4-5(c) (Reply Claim Construction
  2025                                  Brief)

  November 13,                          Comply with P.R.        4-5(b)   (Responsive    Claim
  2025                                  Construction Brief)

  October 30,                           Comply with P.R. 4-5(a) (Opening Claim Construction
  2025                                  Brief) and Submit Technical Tutorials (if any)

                                        Good cause must be shown to submit technical tutorials
                                        after the deadline to comply with P.R. 4-5(a).

  October 30,                           Deadline to Substantially Complete          Document
  2025                                  Production and Exchange Privilege Logs

                                        Counsel are expected to make good faith efforts to
                                        produce all required documents as soon as they are
                                        available and not wait until the substantial completion
                                        deadline.

  October 16,                           Comply with P.R. 4-4 (Deadline to Complete Claim
  2025                                  Construction Discovery)

  October 9,                            File Response to Amended Pleadings
  2025


  September 25,                         *File Amended Pleadings
  2025
                                        It is not necessary to seek leave of Court to amend
                                        pleadings prior to this deadline unless the amendment
                                        seeks to assert additional patents.

  September 18,                         Comply with P.R. 4-3 (Joint Claim Construction
  2025                                  Statement)



                                              4
Case 2:24-cv-00641-RWS-RSP            Document 17-1        Filed 02/27/25     Page 5 of 7 PageID #:
                                             149



      August 28,                            Comply with P.R. 4-2 (Exchange Preliminary Claim
      2025                                  Constructions)

      August 7, 2025                        Comply with P.R. 4-1 (Exchange Proposed Claim
                                            Terms)

      March 27,                             Comply with Standing Order Regarding Subject-
      2025                                  Matter Eligibility Contentions5

      March 27,                             Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
      2025

      March 6, 2025                         *File Proposed Protective Order and Comply with
                                            Paragraphs 1 & 3 of the Discovery Order (Initial and
                                            Additional Disclosures)


                                            The Proposed Protective Order shall be filed as a
                                            separate motion with the caption indicating whether or
                                            not the proposed order is opposed in any part.
  (*) indicates a deadline that cannot be changed without an acceptable showing of good cause.
  Good cause is not shown merely by indicating that the parties agree that the deadline should
  be changed.

                                ADDITIONAL REQUIREMENTS

          Mediation: While certain cases may benefit from mediation, such may not be appropriate
  for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
  benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
  ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
  mediation within fourteen days of the issuance of the Court’s claim construction order. As a
  part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
  mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
  the Parties should set forth a brief statement of their competing positions in the Joint Notice.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
  the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
  exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
  must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
  business days after briefing has completed. For expert-related motions, complete digital copies of

  5
   _http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
  Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf             [https://perma.cc/RQN2-
  YU5P]



                                                  5
Case 2:24-cv-00641-RWS-RSP              Document 17-1         Filed 02/27/25      Page 6 of 7 PageID #:
                                               150



  the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
  to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
  than the dispositive motion deadline.

          Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
  include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
  the local rules’ normal page limits.

         Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
  “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
  pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
  changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
  an Order granting leave to designate different lead counsel. The true lead counsel should be
  designated early and should not expect to parachute in as lead once the case has been largely
  developed.

           Motions for Continuance: The following will not warrant a continuance nor justify a
  failure to comply with the discovery deadline:

  (a)     The fact that there are motions for summary judgment or motions to dismiss pending;

  (b)     The fact that one or more of the attorneys is set for trial in another court on the same day,
          unless the other setting was made prior to the date of this order or was made as a special
          provision for the parties in the other case;

  (c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.

         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
  the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
  include a proposed order that lists all of the remaining dates in one column (as above) and the
  proposed changes to each date in an additional adjacent column (if there is no change for a date
  the proposed date column should remain blank or indicate that it is unchanged). In other words,
  the DCO in the proposed order should be complete such that one can clearly see all the remaining
  deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
  version of the DCO.

         Proposed DCO: The Parties’ Proposed DCO should also follow the format described
  above under “Amendments to the Docket Control Order (‘DCO’).”

          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
  the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
  shall also specify the nature of each theory of infringement, including under which subsections of
  35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
  infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
  theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
  written description, enablement, or any other basis for invalidity. The Defendant shall also specify



                                                     6
Case 2:24-cv-00641-RWS-RSP            Document 17-1        Filed 02/27/25     Page 7 of 7 PageID #:
                                             151



  each prior art reference or combination of references upon which the Defendant shall rely at trial,
  with respect to each theory of invalidity. The contentions of the Parties may not be amended,
  supplemented, or dropped without leave of the Court based upon a showing of good cause.

          Trial: All parties must appear in person at trial. All non-individual (including but not
  limited to corporate) parties must appear at trial through the presence in person of a designated
  representative. Once they have appeared, any representative of a non-individual party shall not be
  replaced or substituted without express leave of Court.




                                                  7
